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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEW JERSEY

    NANO FIRE LLC,                                  )
                                                    )
                      Plaintiff,                    )
            v.                                      )     Case No.: 2:23-cv-03562-BRM-CLW
                                                    )
    HALMA PLC, HALMA HOLDINGS                       )
    INC., FIREPRO SYSTEMS LTD.                      )      CERTIFICATION OF JACE
    and HOCHIKI AMERICA                             )      WILLIAMS IN SUPPORT OF
    CORPORATION,                                    )   APPLICATION FOR PRO HAC VICE
                                                    )            ADMISSION
          Defendants.                               )
                                                    )

  I, Jace Williams, hereby certify as follows:

         1. I am an attorney with the law firm of Womble Bond Dickinson (US) LLP, attorneys

  for Defendants Halma PLC, Halma Holdings Inc., and FirePro Systems Ltd. (collectively,

  “Defendants”) in the above-captioned matter. I am fully familiar with the facts and

  circumstances surrounding this litigation, and I submit this Certification in support of

  Defendant’s application for my admission pro hac vice pursuant to Local Civil Rule 101.1(c).

         2. Attached hereto as Exhibit A is a true and correct Certificate of Good Standing from

  the United States District Court for the Northern District of Georgia evidencing that I have been

  a member of the bar of that court of the United States since December 29, 2021. Attached hereto

  as Exhibit B is a list of the Courts I am a member in good standing of, including the year of

  admission and, to the best of my knowledge, the name and address of the official or office

  maintaining the roll of such member of its bar.

         3. No disciplinary proceedings are pending against me in any jurisdiction and no

  discipline has previously been imposed on me in any jurisdiction. I understand my continuing

  obligation to advise the Court of any disciplinary proceedings that may be instituted against me.




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          4. I am ineligible for plenary admission to the bar of this Court under Local Civil Rule

  101.1(b).

          5. Pursuant to the rules of this Court, all papers filed on behalf of Defendants in this

  action will be signed by Rhonda Payne Harmon or another member of Womble Bond Dickinson

  (US) LLP who is a member in good standing of the bars of the State of New Jersey and the

  United States District Court.

          6. I agree to strictly observe the dates fixed for scheduling conferences, motions, pretrial

  conferences, trial or any other proceedings. I further agree to submit to the disciplinary

  jurisdiction of this Court.

          7. Pursuant to Local Civil Rule 101.1(c)(2), I agree to pay the annual fee required by the

  New Jersey Lawyers’ Fund for Client Protection in accordance with New Jersey Court Rule

  1:28-2(a).

          8. Pursuant to Local Civil Rule 101.1(c)(3), I agree to make the required payment to the

  Clerk, United States District Court.

          I certify under penalty of perjury that the foregoing is true and correct.

  Dated: December 5, 2023                        Respectfully submitted,


                                                 /s/_________________________
                                                 Jace Williams
                                                 Georgia Bar No.: 965608
                                                 Email: Jace.Williams@wbd-us.com
                                                 WOMBLE BOND DICKINSON (US) LLP
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